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                    EXHIBIT 37
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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND



  STATE OF NEW YORK, et al.,

             Plaintiffs,

                   v.
                                                             Case No. 1:25-cv-00196-MRD-PAS
  ROBERT F. KENNEDY, JR., in his official
  capacity as SECRETARY OF THE U.S.
  DEPARTMENT OF HEALTH AND HUMAN
  SERVICES, et al.,

             Defendants.


                             DECLARATION OF MICHELLE DAVIS

        I, Michelle Davis, declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that

 the foregoing is true and correct:

        1.        I am the Deputy Commissioner of the Office of Public Health (“OPH”), within

 the New York State Department of Health (“DOH”). I am familiar with the information in the

 statements set forth below either through personal knowledge, in consultation with DOH staff, or

 from documents that have been provided to and reviewed by me.

        2.        I submit this Declaration in support of the States’ Motion for a Preliminary

 Injunction.

 Professional Background

        3.        I am the Deputy Commissioner at the OPH, within the DOH. I have served in this

 position since April 10, 2025. I have over thirty (30) years of public health experience serving at

 the local, county, state and territorial levels. I have held five (5) executive public health positions

 including my current position. They include: Deputy Health Commissioner for Policy and
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 Planning for the City of Philadelphia, Deputy Secretary for Health for Policy and Planning for

 the Commonwealth of Pennsylvania, Senior Executive Service within the U.S. Department of

 Health and Human Services (“HHS”) for the Office of the Secretary (CEO), and Health

 Commissioner (CEO) for the U.S. Virgin Islands. I have worked in and managed across a broad

 portfolio of public health areas including those outlined below for the NYS Office of Public

 Health. Within HHS I spent ten (10) years with the Centers for Disease Control and Prevention

 (“CDC”) as an epidemiologist and statistician developing surveys, analyzing data and training

 individuals how to collect and analyze data for program development and management. The

 CDC also assigned me to serve as the Director of Maternal and Child Health within one of our

 nations’ health departments. As the Health Commissioner of the U.S. Virgin Islands, I oversaw

 most of the same programs that are conducted by the DOH. I have undergraduate training in

 biology, psychology and education. Utilizing this education, I have worked as a laboratory

 microbiologist and a science teacher. With my graduate training in Epidemiology, Statistics and

 Health Policy, I have conducted research, written and published journal articles, and developed

 policy guidance at the federal level in the areas of Sickle Cell Disease, Language Access,

 Performance Measures and Data utilization among other areas.

        4.      DOH’s mission is to protect and promote health and well-being for all, building

 on a foundation of health equity. The OPH is responsible for a broad portfolio of essential public

 health activities in New York State, such as communicable disease control, immunizations,

 family health, chronic disease prevention, local public health practice, nutrition programs,

 drinking water safety, injury and violence prevention, and environmental health and food safety.

 The OPH oversees different centers and divisions, including the DOH’s Center for Community

 Health (“CCH”). Within the CCH, the Division of Chronic Disease Prevention implements
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 evidence-based and innovative public health strategies to support New Yorkers to live healthier

 lives by reducing the incidence and burden of many of the leading causes of death and disability,

 including heart disease, stroke, cancer, obesity, diabetes, and asthma, and their associated risk

 factors, including tobacco use, poor nutrition, and lack of physical activity.

        5.      The DOH’s Bureau of Tobacco Control resides within the Division of Chronic

 Disease Prevention and has a mission to reduce tobacco-related illness, disability and death and

 to alleviate the social and economic burden caused by tobacco use in New York State. Since

 2000, the Bureau of Tobacco Control has administered the State’s comprehensive Tobacco

 Control Program to prevent tobacco use initiation, reduce tobacco use among adults, eliminate

 exposure to secondhand smoke, and advance health equity.

        6.      The Bureau of Tobacco Control operates through a comprehensive, integrated,

 evidence-based, CDC-recommended framework of health communications, cessation-focused

 health systems change, local and statewide policy initiatives, and is also assessed through a state-

 mandated independent evaluation. The program uses health communications and mass media to

 conduct widespread public awareness campaigns to inform the community about the dangers of

 tobacco use and the benefits of quitting. The health systems change efforts aim to enhance the

 delivery of evidence-based tobacco cessation treatment, particularly for underserved populations,

 through initiatives such as integrating tobacco use screening in electronic health records, training

 providers, and expanding cessation benefits. Programs like the Health Systems for a Tobacco-

 Free NY and the New York State Smokers’ Quitline provide resources and support to both

 individuals and healthcare providers to facilitate successful quit attempts. Through the

 Advancing Tobacco-Free Communities Program, the Bureau funds a network of grantees across

 New York State to implement community engagement and youth action strategies aimed at
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 creating tobacco-free environments. Their initiatives focus on policy changes to reduce tobacco

 marketing, promote smoke-free outdoor spaces and multiunit housing, and address tobacco use

 disparities among specific populations.

 Office on Smoking and Health (“OSH”)

        7.      OSH was the lead federal agency for comprehensive tobacco prevention and

 control and played a critical role in preventing youth tobacco use, which includes smoking,

 vaping, and other nicotine products, and helping adults to quit smoking. Cigarette smoking is the

 leading cause of preventable disease, disability, and death in the United States. OSH worked to

 prevent and reduce cigarette smoking by collecting, studying, and sharing information on

 cigarette smoking and its effects on health, as mandated by Congress. 15 U.S.C. § 1341

 (“Smoking, research, education and information”).

        8.      OSH was administered by the National Center for Chronic Disease Prevention

 and Health Promotion (“NCCDPHP”), within the CDC of the HHS.

        9.      OSH managed a tobacco use data portal which provided access to the latest

 tobacco prevention and control data, graphs, and maps, as well as the State Tobacco Activities

 Tracking and Evaluation (“STATE”) System, which presented data on traditional Medicaid

 coverage of tobacco cessation treatments in fifty (50) U.S. States and the District of Columbia.

 This dataset was used by Plaintiff States to assess tobacco cessation policies and served as a

 national clearinghouse of information for the public.

        10.     OSH also managed annual submissions of cigarette and smokeless tobacco

 ingredient reports from manufacturers, packagers, and importers. OSH also monitored tobacco

 use trends and health impacts in part to inform FDA regulations and enforcement.
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         11.     Further, staff at OSH establishes and maintains specifications for data systems

 needed to track measures of tobacco use for all fifty (50) states, including New York. They

 maintain the case definitions of measures essential to monitoring progress in tobacco control,

 cigarette smoking, use of other tobacco products, vaping, and quit attempts. Public health

 surveillance and epidemiology rely on stable data systems and these standard case

 definitions. The loss of experts responsible for maintaining these central data systems and

 technical measure specifications at HHS severely impaired New York State’s tobacco control

 efforts; without these centralized systems; the consistency or effective collaboration amongst the

 fifty (50) states and US territories involved in tobacco control will be critically impacted.

         12.     OSH’s national surveillance systems provided reliable, consistent, and cost-

 effective data collection that New York State used to evaluate its work and monitor progress in

 tobacco use prevention. OSH played an important role in surveillance and surveys, including the

 state-based Behavioral Risk Factor Surveillance System, National Health and Nutrition

 Examination Survey, and the National Youth Tobacco Survey (“NYTS”). NYTS collected data

 on tobacco use by high school and middle school students, including which products they were

 using, how often they use them, and how youth access them. The NYTS informs question

 development of state-level Youth Tobacco Surveys and serves as a comparison to understand

 state trends in context. The NYTS findings help inform the broader conversation about New

 York’s and other states’ tobacco-related outcomes among decision makers, the media and public

 health practitioners; and help to fill in the gaps in data for items that states do not have in their

 YTS. OSH additionally published state-level data on tobacco use prevention and cessation in the

 STATE. The STATE system helps New York State to facilitate data analysis and evaluation.
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        13.     OSH educates the public about the harms of tobacco use, including media

 campaigns such as Tips from Former Smokers (“Tips Campaign”) and publications derived from

 the Publication Catalog and Ordering System. The Tips Campaign ads, which were placed on

 television, radio, and billboards, encouraged people who smoke to quit by featuring real people

 with serious health conditions caused by smoking and secondhand smoke exposure. A CDC

 study of the Tips Campaign documented a significant positive impact on Americans’ health.

 CDC estimated that during 2012-2018, over 16.4 million smokers attempted to quit and

 approximately one million successfully quit because of the Tips Campaign. Smokers who saw

 Tips Campaign videos reported greater intentions to quit smoking, and former smokers with

 higher exposure to the ads were associated with lower odds of relapse. The Tips Campaign was

 credited with helping to prevent early deaths and save precious government resources. The

 successful Tips Campaign continued to run from 2012 through 2024. It is estimated that a quarter

 of people that called quitlines in response to the Tips campaign have a disability or other chronic

 health condition. The loss of this campaign eliminates a critical tool that informed and assisted

 these groups with smoking cessation, the same groups that the DOH seeks to help through its

 aligned, evidence-based public awareness campaigns which were intentionally designed to

 complement federal efforts—coordination that is now disrupted by the loss of the Tips campaign.

 See Exhibits A and B.

        14.     OSH scientists published high-quality reports on tobacco use trends that New

 York and other states utilized to prioritize interventions, monitor progress, and reduce disparities.

 For example, OSH’s Best Practices for Comprehensive Tobacco Control Program Guide advises

 states on how to develop, implement, and fund an evidence-based tobacco prevention and control

 program. OSH likewise dedicated its publications and resources to the “Publication Catalog and
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 Ordering System” where state agencies and other users could access campaign materials and

 Surgeon General’s reports. Finally, CDC’s OSH disseminates several fact sheets and publications

 which serve as foundational evidence-based guides for tobacco control programs interventions

 and evaluations. These publications set the stage for talking about emerging products, shifting

 trends and key priorities.

        15.     OSH maintained the national network of tobacco cessation quitlines by supporting

 quitline services in fifty states, two U.S. territories, and Washington, D.C. Additionally, OSH

 funded the New York State quitline to deliver resources such as counseling and medications.

        16.     OSH also supported the National Quitline Data Warehouse (“NQDW”), a large

 repository that serves as a continuing national resource for data on the services, utilization, and

 success of 54 nationwide quitlines. New York State, amongst others, has been able to conduct

 robust studies of its Quitline’s reach and effectiveness because of the access it has to other state

 and national data via the NQDW. Without a primary, recognizable, and promoted program like

 the national quitline portal, (i.e., 1-800-QUIT-NOW), fewer people will be encouraged to quit or

 know where to get help. The Tips Campaign resulted in a sustained and dramatic increase of calls

 to quitlines. From 2012-2023, more than 2 million calls to the national tobacco quitline portal

 can be attributed to the Tips campaign. See Exhibit C. More than 1 million people have

 successfully quit because of the Tips campaign. See Exhibit B.

        17.     OSH also provided millions in funding to the National and State Tobacco Control

 Program. Participating states used OSH funds to prevent kids from using tobacco, reduce

 secondhand smoke exposure, help people quit smoking, and address disparities in tobacco use.

        18.     OSH is largely administered at the federal level by HHS employees working out

 of HHS Regional Offices.
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         19.     I am providing this declaration to explain the impacts on New York State and

 DOH of the changes to OSH, including a reduction in staffing, since April 1, 2025. These

 changes have created a situation whereby the DOH must alter its practices and procedures; fill

 critical gaps in technical assistance, surveillance, and communications support; adapt program

 strategies without essential federal guidance; manage uncertainty around future grant funding;

 and delay implementation of key evidence-based tobacco control interventions.

 Center for Tobacco Products (CTP)

         20.     Per 21 U.S.C. § 387a(e), the Food and Drug Administration (“FDA”) of HHS was

 obligated to create the CTP to administer the Family Smoking Prevention and Tobacco Control

 Act.

         21.     In the past CTP has overseen the implementation of the Family Smoking

 Prevention and Tobacco Control Act on behalf of the FDA by setting performance standards for

 tobacco products, reviewing premarket applications for new and modified risk tobacco products,

 requiring new warning labels, and establishing and enforcing advertising and promotion

 restrictions.

         22.     Among other duties, CTP conducts compliance checks on vendors and retailers to

 ensure that tobacco products are not sold to those under the age of twenty-one, reviews

 premarket applications for new tobacco products before they can be marketed in the United

 States, enforces advertising and promotion restrictions, oversees warning labels on tobacco and

 nicotine products, and educates the public about the risks of tobacco use including the dangers of

 e-cigarettes and other tobacco products. A critical part of FDA’s public health mission is

 educating youth about the dangers of e-cigarette use and since 2018, CTP has prioritized its

 public education efforts to further reduce e-cigarette use among youth. The CTP’s “Real Cost
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  Campaign” is a youth-specific national e-cigarette and cigarette prevention media campaign

  focused on educating youth about the negative health effects and risks of vaping and smoking.

  The campaign was found to have prevented an estimated 444,252 American youth (aged 11 to 17

  at study recruitment) from starting to use e-cigarettes between 2023 and 2024. See Exhibit D.

  Changes in OSH and CTP activity since April 1, 2025

         23.      Prior to April 1, 2025, the DOH regularly relied on OSH staff for many aspects of

  the day-to-day operation of the Bureau of Tobacco Control. However, since April 1, DOH has

  seen significant cutbacks to the operations of OSH and CTP programs.

         24.      Specifically, our state’s primary point of contact at OSH, for the Project Officer

  or Public Health Advisor, is no longer available to be contacted. We have not been able to

  receive answers or guidance regarding guidance, assistance, and administrative oversight

  regarding the federal cooperative agreement. See a sample CDC Cooperative Agreement

  attached hereto as Exhibit E, which describes CDC’s expected “substantial programmatic

  involvement”.

         25.      OSH employees assigned to the DOH have received RIF notices from HHS

  including the federal project officer (Public Health Advisor) assigned to New York and staff

  from the health communication branch, the policy team, and the epidemiology branch and

  evaluation team. These employees responsibilities included providing training, technical

  assistance, and oversight regarding: revision or submission of annual work plans; advancing

  program activities to achieve project outcomes; subject matter expertise and resources;

  development of annual evaluation plans that align with CDC evaluation activities; annual

  evaluation and performance measurement plan; policy, systems, and environmental strategies for

  tobacco control, including tobacco use and dependence treatment strategies and activities; best
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  practices for tobacco prevention and control; evidence-based policy, systems, and environmental

  strategies and activities for tobacco control through workshops, conferences, training, electronic

  and verbal communication; and development and maintenance of partnerships with federal and

  non-federal organizations to assist in tobacco control and maintain a national infrastructure that

  complements the state infrastructure

         26.     The DOH no longer has access to OSH education ads through the Media

  Campaign Resource Center (“MCRC”). The MCRC is a clearinghouse for tobacco use,

  prevention, and cessation educational campaign materials created by national and international

  tobacco control programs. It includes hundreds of videos, radio, print, outdoor (billboard), digital

  ads, and social media materials. The MCRC managed all logistics of providing the appropriate

  license for tobacco control programs to use its creative materials by managing licensing, talent

  costs, edits, and more. For over 20 years, New York has relied on the MCRC to access creative

  materials for its annual mass media campaigns. Presently, the MCRC’s website displays a banner

  that says: “We are currently unable to process orders at this time.” See Exhibit F.

         27.     Without staff at CDC’s OSH, New York State has lost access to the technical

  advisors at CDC who provide guidance and feedback regarding state program evaluation and

  performance measurement plans, as well as who maintain and update key surveillance systems.

  Without key staff at CDC’s OSH, updates to the National Youth Tobacco Survey, the STATE, and

  resources for NY’s tobacco quitline are unlikely to occur, significantly hampering NY’s efforts to

  effectively evaluate their tobacco prevention and control programming.

         28.      The Department of Health has lost access to updated OSH data and guidance on

  tobacco use trends, including the STATE system, the National YTS and Best Practices for

  Comprehensive Tobacco Control Program Guide. While these resources are still available
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  online, they will not be updated moving forward, hampering DOH’s ability to stay current on

  vital information on tobacco use trends.

         29.     The DOH has also lost access to materials that educate on the dangers of smoking

  and tobacco products and means for quitting, including the Tips from Former Smokers campaign

  and publications derived.

         30.      Additionally, the DOH has lost access to the national network of tobacco

  cessation quitlines. OSH was responsible for providing technical assistance upon request, on the

  submission of data to the NQDW; it was responsible for providing technical assistance and

  training to states related to data collection and reporting of, aggregate data at the state-level and

  national level, and reporting aggregate state-level data in the STATE System and other

  publications, e.g., State Tobacco Control Highlights.

         31.     Our state tobacco laws and regulations depend on FDA review and approval of

  new tobacco product applications. If those applications are not properly processed, our state’s

  ability to keep dangerous tobacco products off the shelves will be impacted.

  Effect on State’s Tobacco Program

         32.     The DOH has been significantly affected by the changes to OSH and CTP

  described above.

         33.     In the past, DOH relied on OSH and CTP for training, technical assistance,

  surveillance data, guidance documents, compliance checks, and other support previously

  provided by OSH and CTP. New York has lost access to vital technical assistance, research, and

  surveillance infrastructure that have supported effective tobacco control programs at both state

  and local levels for decades. For example, monthly National Tobacco Control Program, Media
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  Network, and periodic Evaluation Technical Assistance webinars to provide updates from subject

  matter experts about relevant tobacco-related topics and issues have been eliminated.

         34.     Deprecation of these two subagencies will have an effect on New York State’s

  ability to protect its citizens, especially its youth, from the dangers of smoking and tobacco

  products. Inadequate or inaccurate surveillance data of tobacco use will harm DOH’s ability to

  efficiently and effectively deploy its tobacco control tools and resources. Fewer compliance

  checks by the CTP will lead to more illegal sales of tobacco products, exposing the youth of New

  York State to a risk of becoming addicted to nicotine products and suffering known health harms.

  We have also seen delays in funding and slower response time, or in some cases no response, to

  inquiries, leaving DOH in peril.

         35.     These changes at OSH and CTP risk significant harm to young children and their

  families in New York State, reversing years of progress in public health. These reductions

  threaten to exacerbate the epidemic of tobacco-related chronic diseases, which significantly

  impact families by increasing healthcare costs and reducing quality of life. Ultimately, the

  consequences of these cuts could lead to higher rates of disability and premature death,

  disproportionately affecting vulnerable populations and children and undermining their health

  and well-being. New York State continues to face considerable health and economic burdens

  associated with smoking (28,000 smoking-attributable deaths and $7.7 billion in smoking-

  attributable health care expenditures in 2019).
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                              ___________________________________
                              MICHELLE DAVIS

  Date: May 7, 2025
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     Exhibit A
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     Exhibit B
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     Exhibit C
    Case 1:25-cv-00196-MRD-PAS                            Document 44-37                   Filed 05/09/25              Page 30 of 77 PageID
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Original Investigation




The Long-Term Impact of the Tips From Former Smokers®
Campaign on Calls to 1-800-QUIT-NOW, 2012–2023




                                                                                                                                                           Downloaded from https://academic.oup.com/ntr/article/27/2/326/7718841 by New York State Department of Health Library user on 07 May 2025
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Abstract
Introduction: There is substantial evidence that mass media campaigns increase calls to quitlines as well as smoking cessation. In 2012,
the Centers for Disease Control and Prevention launched the first federally funded national tobacco education campaign, Tips From Former
Smokers® (ie, Tips). From 2012 through 2023, Tips aired advertisements on television. To date, no studies have examined the long-term effect of
a national smoking cessation campaign on quitline calls. This study examined the long-term impact of Tips television ads on calls to 1-800-QUIT-
NOW from 2012 through 2023.
Methods: Exposure to the Tips campaign was measured using weekly gross rating points (GRPs) for television ads in each U.S. designated
market area. We obtained data on calls to 1-800-QUIT-NOW from the National Cancer Institute and used linear regression to model calls to
1-800-QUIT-NOW, from 2012 through 2023, as a function of weekly media market-level GRPs for Tips television ads. Using the regression model
results, we calculated predicted values of calls to 1-800-QUIT-NOW across observed GRP values to determine the total calls to 1-800-QUIT-NOW
that were attributable to the Tips campaign during 2012–2023.
Results: Tips GRPs were positively and significantly associated with calls to 1-800-QUIT-NOW across all years (b = 39.94, p < .001). Based on
this association, we estimate the Tips campaign generated nearly 2.1 million additional calls to 1-800-QUIT-NOW during 2012–2023.
Conclusions: Exposure to the Tips campaign has consistently and significantly increased calls to tobacco quitlines.
Implications: Quitlines provide evidence-based support to help people quit smoking. They have been shown to increase the likelihood of suc-
cessfully quitting. Mass media campaigns have promoted quitlines, and quitline calls have increased significantly with media promotion. The
long-term effect of campaigns—like the Centers for Disease Control and Prevention’s Tips From Former Smokers® (ie, Tips)—on quitline calls
has not been determined. From 2012 through 2023, exposure to the Tips campaign is estimated to have generated nearly 2.1 million additional
calls to 1-800-QUIT-NOW. This study supports the continued use of mass media to promote quitlines.


Introduction                                                                       Telephone quitlines are a key part of comprehensive efforts
All 50 states, the District of Columbia, Guam, and Puerto                       to increase smoking cessation and are a recommended com-
Rico use telephone quitlines to provide support to people                       ponent of state tobacco control programs.4,5,10 The Centers
who want to quit using commercial tobacco products.1–9                          for Disease Control and Prevention (CDC) provides dedi-
Tobacco quitlines provide free evidence-based resources                         cated funding for state quitlines.2 Many states also provide
such as counseling, referrals to local programs, informa-                       additional funding to support their quitline.3 Since 2004,
tion, and self-help materials. Many quitlines also offer free                   people in the United States have been able to access their state
medications such as nicotine replacement therapy as well                        quitline through the National Network of Tobacco Cessation
as web- and text-based support.1–9 Substantial evidence                         Quitlines national portal, 1-800-QUIT-NOW, which is
has shown that telephone quitlines are effective at helping                     operated and administered by the National Cancer Institute
people who smoke make quit attempts and successfully                            (NCI).1,2,4,5 During its first 15 years, from 2004 through 2019,
quit.1,3–5,7,10–13 Quitlines are used by a variety of populations               1-800-QUIT-NOW received more than 10 million calls.1,2
and are particularly helpful for people who may face finan-                        A number of studies in the United States and elsewhere
cial or logistical barriers to accessing other evidence-based                   have demonstrated that mass media campaigns are effective
cessation services (eg, health insurance and transportation                     at promoting calls to quitlines.4,11,12,15,20,23–28 In 2012, CDC
are not needed to use quitline services).1–8,11,14–22 Quitlines                 launched the first federally funded national tobacco educa-
play an important role in addressing disparities in to-                         tion campaign—Tips From Former Smokers® (ie, Tips)—
bacco use cessation by reaching—and providing services                          to raise awareness of the negative health effects caused by
to—populations disproportionately affected by tobacco                           smoking cigarettes, motivate people who smoke to quit, and
use.1–8,11,14–22                                                                encourage those who do not smoke to protect themselves and


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their families from exposure to secondhand smoke. The Tips           based on the proportion of the area code’s population located
campaign tells the personal stories of real people from many         in each DMA. The final data used for this analysis included
different backgrounds who are living with serious long-term          8 617 439 total calls to 1-800-QUIT-NOW (100%) received
health consequences from smoking and secondhand smoke                from 2012 through 2023 in all 210 Nielsen DMAs.
exposure.29,30 Campaign advertisements are placed on tel-
evision and radio, in print, and on digital platforms. Since         Analysis
2012, the campaign has run multiple weeks every year, typ-           We began our analysis by plotting total calls to 1-800-QUIT-
ically during spring and summer. The largest portion of the          NOW and average population-weighted GRPs for Tips television




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Tips media budget goes toward TV ads, which have aired               ads by week. This plot provides an initial visual representation
nationally on both broadcast and cable channels. To en-              of the basic relationship between Tips advertising and calls to
courage adults who smoke to seek assistance with quitting,           1-800-QUIT-NOW. We then used multivariable linear regres-
Tips TV advertisements are typically tagged with a call to           sion to model weekly DMA-level calls to 1-800-QUIT-NOW as
action directing people to 1-800-QUIT-NOW, which appears             a function of weekly DMA-level GRPs for Tips television ads.
at the end of the ads. Early research showed that the initial        In this model, GRPs were scaled such that the GRP coefficient
Tips campaign in 2012 generated over 150 000 additional              represents the increase in weekly calls to 1-800-QUIT-NOW per
calls to 1-800-QUIT-NOW nationwide23–25 and significantly            DMA per increase of 100 weekly GRPs in a given DMA. We
increased calls to 1-800-QUIT-NOW in almost every state.26           chose this scaling factor because 100 GRPs per week in a DMA
   Although these prior studies showed a positive impact of          represents the approximate average size of the weekly Tips TV
the Tips campaign on quitline calls, there has not been an as-       ad buys from 2012 through 2023.
sessment of the long-term effect of the campaign on quitline            Our model also controlled for several potential confounders
calls over multiple years. In this study, we estimate the long-      that could be associated with calls to 1-800-QUIT-NOW.
term dose–response relationship between the Tips campaign            These included the number of homes with a TV in the
and calls to 1-800-QUIT-NOW. To assess the effect of the             DMA (in the hundreds of thousands) as well as the adult
campaign on quitline calls over time, we calculated the im-          smoking prevalence for each DMA. We estimated DMA-level
pact of Tips media on total calls to 1-800-QUIT-NOW from             smoking prevalence using state-level adult smoking prev-
2012 through 2023. To the best of our knowledge, this is             alence from the CDC’s Behavioral Risk Factor Surveillance
the first study to examine the impact of a long-termnational         System for the years 2012 through 2022. DMAs completely
anti-smoking media campaign occuring over more than a                contained within a single state were assigned that state’s adult
decade on calls to telephone quitlines.                              smoking prevalence. For DMAs located in multiple states,
                                                                     we generated a weighted average adult smoking prevalence
                                                                     based on the percentage of the DMA’s population located in
Materials and Methods
                                                                     each state. At the time of this analysis, Behavioral Risk Factor
Data and Measures                                                    Surveillance System data for 2023 were not yet available. We
The outcome variable was the weekly number of calls to               assumed adult smoking prevalence in 2023 was equal to the
1-800-QUIT-NOW by media market. Data for all incoming                2022 values. To account for trends in call volume over time
calls to 1-800-QUIT-NOW from January 2, 2012, through                that may have been independent of the Tips campaign, we
December 31, 2023, for all 50 U.S. states and Washington, DC,        included a linear weekly time trend variable. To account for
were obtained from NCI. These data comprise records for each         fixed state-level differences that might be correlated with calls
individual call received, not unique callers. Some state quitlines   to 1-800-QUIT-NOW, we also included separate indicator
use numbers other than 1-800-QUIT-NOW as their primary               variables for the primary state where each DMA is located
or secondary number. Calls to these other quitline numbers           (ie, primary state fixed effects). The primary state represents
are not included in this analysis, since those numbers were not      the state in which each market is completely located or the
promoted by Tips TV ads. Furthermore, calls to those numbers         state containing the largest proportion of the DMA’s total
are not included in the NCI call volume data for                     population. There are 48 primary states, which each received
   1-800-QUIT-NOW. The primary independent variable was              their own indicator variable. Three states (Delaware, New
Tips campaign exposure, measured by weekly gross rating              Hampshire, and New Jersey) and the District of Columbia
points (GRPs) for television ads in each media market. GRPs          did not get primary state indicators. Although those areas
measure the relative “dose” of advertising delivered to a given      are covered by Nielsen DMAs, there are no DMAs for which
audience (eg, adults who smoke) in a given media market and          those areas represent the largest proportion of the DMA’s
time period. GRPs are defined as the product of reach (ie, the       total population.
proportion of the audience exposed to a given ad) and fre-              Using the regression results, we calculated the predicted
quency (ie, the number of times the audience is exposed to an        values of calls to 1-800-QUIT-NOW at zero GRPs (ie, “no
ad) during a given time period.4                                     campaign”) to estimate what the number of calls would have
   Weekly GRPs for Tips television ads in each media market          been in the absence of the campaign. This “no campaign”
were matched with weekly counts of calls to 1-800-QUIT-              predicted value was then compared to the actual number
NOW from that media market. There are 210 Nielsen desig-             of calls received by 1-800-QUIT-NOW to estimate the total
nated market areas (DMAs) that geographically define each            campaign-attributable additional calls during 2012–2023.
U.S. television media market. Calls to 1-800-QUIT-NOW were           We also assessed the impact of Tips TV ads on calls to
matched to corresponding Nielsen DMAs by area code. For              1-800-QUIT-NOW by calculating the percentage difference
area codes geographically located entirely within a single DMA,      between actual calls received by 1-800-QUIT-NOW and the
all calls were assigned to that specific DMA. For area codes ge-     estimate of how many calls 1-800-QUIT-NOW would have
ographically located in multiple DMAs, the total number of           received if there had not been any Tips TV ads (eg, Tips TV
calls from that area code were distributed across those DMAs         GRPs = 0).
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Sensitivity Analyses                                                          was declared in the United States on March 13, 2020, just
We conducted sensitivity analyses to further investigate two                  prior to the launch of the 2020 Tips campaign on March 23,
aspects of our study. First, we examined whether, and to what de-             2020. During this unprecedented emergency, there was nearly
gree, the potential misassignment of some calls to 1-800-QUIT-                universal media and news coverage related to COVID-19. We
NOW from cell phones to Nielsen DMAs affected our results.                    were interested to see whether the COVID-19 pandemic al-
Because calls to 1-800-QUIT-NOW are matched with Nielsen                      tered or affected the relationship between Tips TV ads and
DMAs based on the area code of the call, callers with cell phones             calls to 1-800-QUIT-NOW, particularly as pandemic-related
may have area codes that do not correspond to the DMA where                   news coverage may have distracted from preplanned health




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they resided when they called the quitline. Since landlines are               education campaigns such as Tips.
not subject to this limitation, we ran alternative versions of our               To address these questions, our second sensitivity anal-
model that were separately limited to only landline calls and then            ysis estimated separate year-specific models for the years
to only cell phone calls. These models provide estimated effects              2012 through 2023 using the same analysis data and model
of Tips TV ads on calls among landline and cell phone callers, re-            specifications as our main multiyear model. These annual
spectively. We also estimated a simple, aggregate national model              models produced year-specific estimates of the impact of
wherein we did not match calls to 1-800-QUIT-NOW with a                       Tips TV ads on calls to 1-800-QUIT-NOW. We compared the
Nielsen DMA. In this model, Tips GRPs varied by time but not                  total model-predicted campaign-attributable increases in calls
by DMA, eliminating any potential for bias arising from area                  from the annual models for the years 2012 through 2023 to
code to DMA misassignments. Using this model, we examined                     the model-predicted campaign-attributable increases in calls
the relationship between weekly total calls to 1-800-QUIT-                    from our main multiyear model for the years 2012 through
NOW in the United States and total weekly GRPs for all Tips                   2023. To address the question of whether the COVID-19 pan-
TV ads aired in the United States.                                            demic might have affected the relationship between Tips TV
   We conducted a second sensitivity analysis to examine                      ads and calls to 1-800-QUIT-NOW, we then compared year-
whether the magnitude of the Tips campaign effects on calls                   specific model results for 2020 to the annual model results
to 1-800-QUIT-NOW varied significantly in the period from                     for the 3 years prior to and after 2020.
2012 through 2023 and the extent to which our estimate of
the cumulative campaign effect is consistent with the average
of annual campaign effects. Additionally, the period covered                  Results
by our data includes 2020, when the global COVID-19 pan-                      Figure 1 shows the variation in weekly calls to 1-800-QUIT-
demic began. As a result of the pandemic, a national emergency                NOW and GRPs for Tips TV ads from 2012 through




Figure 1. Total national calls to 1-800-QUIT-NOW and average market-level GRPs for Tips television ads by week, January 2012–December 2023.
GRPs = Gross rating points. Defined as the product of reach (ie, the proportion of the audience that is exposed to a given advertisement) and frequency
(ie, the number of times the audience is exposed to an advertisement) during a given period. In 2012, Tips aired March 19–June 10, for a 12-week
campaign. In 2023, Tips aired March 4–June 23, for a 16-week campaign. The campaign employed a pulsing strategy during the first 12 weeks where
national television ads alternated between being on air in 1 week and off air during the following week. Television ads were on air for a total of 10
weeks during the campaign. In 2014, Tips aired February 3–September 7, for an 18-week campaign. The campaign was implemented in two separate
9-week phases (February 3–April 6 and July 7–September 7), with a 13-week period between each phase. In 2015, Tips aired March 30–August 16, for
a 20-week campaign. In 2016, Tips aired January 25–June 12, for a 20-week campaign. In 2017, Tips aired January 9–July 30, for a 29-week campaign.
In 2018, Tips aired April 23–October 14, for a 25-week campaign. In 2019, Tips aired April 1–October 6, for a 27-week campaign. Tips television ads
were off air for three holiday weeks during the campaign: May 27–June 2 (Memorial Day); July 1–July 7 (Independence Day); September 2–September
9 (Labor Day). In 2020, Tips aired March 23–October 4, for a 28-week campaign. Tips television ads were off air for three holiday weeks during the
campaign: May 25–May 31 (Memorial Day); June 29–July 5 (Independence Day); September 7–September 13 (Labor Day). In 2021, Tips aired March
1–September 26, for a 30-week campaign. Tips television ads were off air for three holiday weeks during the campaign: May 31–June 6 (Memorial Day);
June 28–July 4 (Independence Day); September 6–September 12 (Labor Day). In 2022, Tips aired February 28–September 25, for a 30-week campaign.
Tips television ads were off air for two holiday weeks during the campaign: May 30–June 5 (Memorial Day); July 4–July 10 (Independence Day). In
2023, Tips aired March 6–September 24, for a 29-week campaign. Tips television ads were off air for 4 weeks during the campaign, two of which were
holiday weeks: April 3–April 9; May 8–May 14; May 29–June 4 (Memorial Day); July 3–July 9 (Independence Day).
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Table 1. Multivariable Linear Regression Model of the Relationship                 not aired (ie, if GRPs for all Tips TV ads equaled zero; Figure
Between Exposure to Weekly Tips Television Ads and Weekly Calls to                 2, Table 2). During this period, actual calls totaled 4 806 934.
1-800-QUIT-NOW, January 2, 2012–December 31, 2023
                                                                                   Therefore, we estimate there were 2 082 286 (CI: 1 948 552
                                                                                   to 2 216 024) calls attributable to Tips TV ads from 2012
Model variables                            ß coefficient (P-valuea) [95% CI]
                                                                                   through 2023. This represents a 76% increase in calls
Independent variable                                                               during weeks when Tips TV ads were on air, compared to
Weekly GRPs for Tips Televi-               39.94 (.000) [39.11 to 40.78]           the estimated 2 724 648 calls that would have been received
sion Ads (in 100s)                                                                 during those weeks if Tips TV ads had not aired.




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Control variablesb                                                                    For the 626 weeks from 2012 through 2023, including
DMA-level number of homes                   6.11 (.000) [5.99 to 6.23]
                                                                                   the 269 weeks when Tips TV ads were on air as well as the
with a TV (in 100 000s)                                                            357 weeks when Tips TV ads were off air, the 2 082 286
DMA-level adult smoking                     1.28 (.000) [0.92 to 1.65]
                                                                                   estimated additional calls associated with Tips TV ads repre-
prevalence                                                                         sent a 32% increase in calls to 1-800-QUIT-NOW, compared
Weekly time trend                          −0.06 (.000) [−0.07 to −0.06]
                                                                                   to the estimated 6 535 153 calls that would have been re-
                                                                                   ceived if Tips TV ads had not aired.

CI = confidence interval; GRP = gross rating points.                               Sensitivity Analyses
Model includes data for 8 617 439 calls to 1-800-QUIT-NOW for 2012
through 2023. Observations in the model consist of weekly calls for 626            In total, there were 3.23 million call records from landline
weeks from 2012 through 2023 from 210 Nielsen Designated Market                    phones (37%) and 5.36 million from cell phones (63%) in
Areas (DMAs). The sample size for the model is 131 460, which is based
on call volume counts for 626 weeks in 210 DMAs (626 × 210 = 131 460).             our analytic data. GRPs for Tips TV ads were positively and
R² = 0.551.                                                                        significantly associated with increases in calls to 1-800-QUIT-
a
 Calculated from standard ordinary least squares regression t tests for
regression coefficient.                                                            NOW for both landline and cell phone calls (p < .001). Our
b
  The model also includes primary state fixed effects which represent the          simplified, aggregate national model analyzed total weekly
state where each DMA is located (if the DMA is contained completely                calls to 1-800-QUIT-NOW from all valid U.S. area codes as a
within a single state) or the state containing the largest proportion of the
DMA’s total population (if the DMA is located in multiple states). There           function of total GRPs delivered nationally and did not con-
are 48 primary states, which each receive their own indicator variable.            sider variation in either calls or GRPs by DMA. Results from
Three states (Delaware, New Hampshire, and New Jersey) as well as the              this model also showed that weekly GRPs for Tips TV ads
District of Columbia do not have primary state indicators since no DMAs
have the largest proportion of their total population located within those         were positively and significantly associated with increases
areas. All primary state fixed effects were statistically significant (p < .05),   in calls to 1-800-QUIT-NOW (b = 40.39, p < .001). The
except for two primary states.
                                                                                   simplified model estimated 2 099 456 (95% CI: 2 005 015
                                                                                   to 2 193 902) additional calls associated with Tips TV ads,
2023. Over the entire period, there were 8 617 439 calls to                        which represents a 78% increase in calls above what calls
1-800-QUIT-NOW, with an average of 13 766 calls per week.                          would have been if the Tips campaign had not occurred.
During the 269 weeks when Tips TV ads were on air, there                           These results are very similar to the primary market-level
were a total of 4 806 934 calls, with an average of 17 870                         model results showing an estimated 76% increase in calls
calls per week and an average of 104 GRPs for Tips TV ads                          above the estimated number of calls that would have been
per week and per Nielsen DMA, weighted by market popu-                             received if the Tips campaign had not occurred.
lation. During the remaining 357 weeks when Tips TV ads                               Tips GRPs were positively and significantly associated with
were off the air, there were a total of 3 810 505 calls, with                      increases in calls to 1-800-QUIT-NOW (p < .001) for each
an average of 10 674 calls per week and zero GRPs for Tips                         of the year-specific annual models. Summing the number of
TV ads.                                                                            calls attributable to Tips TV ads estimated by each of the
   Table 1 presents results from our regression model of                           12 year-specific models yielded a total of 1 920 410 calls at-
weekly DMA-level calls to 1-800-QUIT-NOW as a function                             tributable to Tips TV ads from 2012 through 2023, which
of weekly DMA-level GRPs for Tips television ads. GRPs for                         is 161 876 calls fewer (7.8% lower) than the 2 082 286
Tips TV ads were positively and significantly associated with                      campaign-attributable calls estimated by our single multiyear
increases in calls to 1-800-QUIT-NOW (b = 39.94, p < .001).                        model. Looking across the year-specific models, the annual
Our model results indicated that DMAs that had more homes                          campaign-attributable percentage increase in calls averaged
with a television and higher adult smoking prevalence tended                       68%, with a median annual percentage increase of 62%.
to have more calls to 1-800-QUIT-NOW per week, regardless                             Although Tips GRPs were positively associated with
of whether Tips TV ads were on air (p < .001). The linear                          increases in calls to 1-800-QUIT-NOW in all 12 years from
weekly time trend was negative and statistically significant                       2012 through 2023, the magnitude of the campaign effect
(p < .001). This indicates that there was a small downward                         was the smallest during 2020. We estimated the percentage
trend in weekly calls to 1-800-QUIT-NOW over the 12-year                           increase in calls during weeks when Tips TV ads were on air
period of 2012 through 2023, independent of the Tips cam-                          was 25% in 2020 compared to annual percentage increases
paign or Tips TV ads. The slight linear decrease in average                        of at least 50% for all other years from 2012 through 2023.
weekly calls to 1-800-QUIT-NOW is consistent with observed                         During the 3-year period before the onset of the COVID-19
decreases in DMA-level average adult smoking prevalence,                           pandemic (2017–2019), the estimated annual campaign-
which declined by approximately 31% over the same period.                          attributable percentage increase in calls to 1-800-QUIT-
   Using the model-predicted value of calls at zero TV GRPs,                       NOW ranged from 54% to 65%, with an average of 60%. By
we estimated that during the 269 weeks when Tips TV ads                            comparison, after the initial stages of the pandemic in 2020,
were airing, there would have been 2 724 648 (confidence in-                       during the 3-year period from 2021 through 2023, the annual
terval [CI]: 2 590 910–2 858 382) calls if Tips TV ads had                         percentage increase in calls to 1-800-QUIT-NOW associated
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Figure 2. Impact of CDC Tips campaign on calls to 1-800-QUIT-NOW: 2012–2023. Notes: The area shaded in dark gray represents the estimated number
of calls to 1-800-QUIT-NOW in absence of the Tips campaign. During weeks when Tips television ads were not on air, this area is equal to the actual
total number of calls received by 1-800-QUIT-NOW. During weeks when Tips television ads were on air, this is the estimated number of calls that
1-800-QUIT-NOW would have received if no Tips television ads had aired. This estimate is based on predictions from our multivariable linear regression
model. The area shaded in light gray represents the estimated calls to 1-800-QUIT-NOW that were associated with Tips television ads. During weeks
when Tips television ads were not on air, no light gray areas appear on the chart. During weeks when Tips television ads were on air, this represents
the difference between actual calls received by 1-800-QUIT-NOW and estimated calls to 1-800-QUIT-NOW in absence of Tips television ads.


Table 2. Estimate of Calls to 1-800-QUIT-NOW Associated with Tips Television Advertisements: 2012–2023

Measure                                                                     Tips TV Ads                                       Total

                                                                            Off air           On air

Number of weeks                                                             357               269                             626
Actual calls to 1-800-QUIT-NOW                                              3 810 505         4 806 934                       8 617 439
Estimated calls to 1-800-QUIT-NOW: in absence of Tips TV ads                3 810 505         2 724 648                       6 535 153
                                                                                              [2 509 910–2 858 382]           [6 401 415–6 668 887]
Estimated calls to 1-800-QUIT-NOW: associated with Tips TV ads              0                 2 082 286                       2 082 286
                                                                                              [1 948 552–2 216 024]           [1 948 552–2 216 024]



with Tips TV ads ranged from 50% to 60%, with an average                        on calls to 1-800-QUIT-NOW rebounded to prepandemic
of 55%.                                                                         magnitudes in the years following 2020. These findings point
                                                                                to the continued robust impact of Tips and mass media
                                                                                campaigns promoting evidence-based quitlines.
Discussion                                                                        This study has some limitations to consider. First, calls
Over the first 12 years of the Tips campaign, from 2012                         to 1-800-QUIT-NOW were matched to media markets
through 2023, Tips TV ads were associated with nearly 2.1                       based on the caller’s area code. However, some people,
million additional calls to 1-800-QUIT-NOW (Table 2).                           particularly people with cell phones, might have called
Based on our analysis, actual calls received by 1-800-QUIT-                     1-800-QUIT-NOW from an area code that did not corre-
NOW during the 269 weeks when Tips TV ads were on air                           spond with the area where they resided when they called
were 76% higher than the estimated number of calls that                         1-800-QUIT-NOW. Results from our sensitivity analysis in-
would have been received during those weeks if the Tips cam-                    dicated that Tips TV GRPs were positively and significantly
paign had not occurred. Our results demonstrate that Tips                       associated with increases in both landline and cell phone
was associated with statistically significant increases in calls                calls. In addition, total weekly GRPs for all Tips TV ads
to 1-800-QUIT-NOW during each of the first 12 years of the                      aired in the U.S. were associated with total weekly calls in a
campaign, including during the onset of the COVID-19 pan-                       simpler aggregated analysis that was not subject to market-
demic and related emergency declarations in 2020. Although                      level GRP variation. This simplified model produced nearly
the effects of the campaign were smaller in 2020, Tips still                    identical results to the main model that used market-level
generated significant increases in calls despite widespread                     variation in GRPs and calls to 1-800-QUIT-NOW. Based on
press coverage of COVID-19 and saturation of the broader                        the sensitivity analysis, we do not believe that our results
media landscape with pandemic-related topics and content.                       are affected by potential mismatching of calls to media
Furthermore, our results suggest the Tips campaign’s effects                    markets.
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   A second limitation of our study is that our analysis was         uscript. Finally, we would like to acknowledge RTI colleague
based on paid Tips TV media that aired from 2012 through             Kaylynn Hiller for her assistance with revisions to the data anal-
2023. We were not able to control for other Tips-related paid        ysis and the preparation of the final version of this manuscript.
media (such as digital media), public service announcements,
earned media, or state-purchased media that also used Tips
ads. Such additional media could have prompted addi-                 Declaration of Interest
tional calls to 1-800-QUIT-NOW. However, most of the Tips            The authors declare that they have no conflicts of interest,
campaign’s media buy has been devoted to TV advertising.             financial or otherwise.




                                                                                                                                              Downloaded from https://academic.oup.com/ntr/article/27/2/326/7718841 by New York State Department of Health Library user on 07 May 2025
We are not aware of any state-based campaigns that have
invested advertising resources at a scale similar to the Tips
campaign and that promote calls to 1-800-QUIT-NOW. In                Author Contributions
addition, Tips digital ads predominantly drive users to the          Nathan Mann (Conceptualization [lead], Data curation
Tips campaign website via the URL in the ads. Although ad            [equal], Formal analysis [lead], Methodology [lead], Project ad-
viewers can find information about 1-800-QUIT-NOW on the             ministration [equal], Supervision [lead], Visualization [equal],
campaign website, calling the quitline is not an explicit call to    Writing—original draft [lead], Writing—review & editing
action in the campaign’s digital ads. Given the timing of Tips       [lead]), Rebecca Murphy (Conceptualization [equal], Project ad-
media buys, the 1-800-QUIT-NOW call to action in all Tips            ministration [equal], Writing—original draft [equal], Writing—
TV ads, and the association between GRPs for Tips TV ads             review & editing [equal]), Kevin Davis (Conceptualization
and calls to 1-800-QUIT-NOW shown in Figure 1, we do not             [equal], Formal analysis [supporting], Methodology [equal],
believe any of the factors noted here could significantly con-       Project administration [supporting], Writing—original draft
found our results.                                                   [equal], Writing—review & editing [equal]), Annette Von
   Our study shows that during the first 12 years of the Tips        Jaglinsky (Data curation [equal], Formal analysis [equal],
campaign, from 2012 through 2023, Tips TV ads were asso-             Methodology [supporting], Visualization [equal], Writing—
ciated with significant increases in calls to 1-800-QUIT-NOW,        original draft [supporting], Writing—review & editing
which connects callers with state-based telephone quitlines          [supporting]), Robert Rodes (Conceptualization [supporting],
that provide free, evidence-based assistance to help people          Project administration [supporting], Writing—original draft
quit using commercial tobacco products. Our findings are             [supporting], Writing—review & editing [supporting]), and
consistent with previous studies showing that Tips had im-           Diane Beistle (Conceptualization [supporting], Project admin-
mediate effects on information-seeking behavior, such as             istration [supporting], Writing—original draft [supporting],
calling a quitline.23–26 These substantial increases in calls to     Writing—review & editing [supporting])
1-800-QUIT-NOW associated with exposure to Tips TV ads
also translate to a higher likelihood that a greater number of
people received evidence-based cessation services that have          Data Availability
been shown to be effective at helping people successfully
                                                                     The data underlying this article were provided by the National
quit smoking. The results presented in this paper add to a
                                                                     Cancer Institute (NCI) and PlowShare by permission and by
growing body of research on the Tips campaign, which has
                                                                     Nielsen Media under license. Data will be shared on reason-
demonstrated effectiveness in: generating calls to 1-800-QUIT-
                                                                     able request to the corresponding author with permission of
NOW23–26; increasing cessation-related attitudes and beliefs,
                                                                     NCI, PlowShare, and Nielsen Media.
quit intentions, quit attempts,30–35 and sustained quits32,34,35;
preventing smoking relapse36; and offering a cost-effective
public health intervention.37 Collectively, this research suggests   Disclaimer
the Tips campaign remains poised to continue having long-
term effects on smoking cessation-related health outcomes.           The findings and conclusions in this report are those of the
                                                                     authors and do not necessarily represent the official position
                                                                     of the Centers for Disease Control and Prevention.
Funding
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Acknowledgments
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tion and development of this study as well as for reviewing and         April 12, 2024.
providing helpful feedback on the manuscript. We would like          3. Centers for Disease Control and Prevention. Quitlines and other
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the development and implementation of this study, including
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contributions to drafting and reviewing earlier versions of this     4. Centers for Disease Control and Prevention. Best Practices for Com-
manuscript. We would also like to acknowledge RTI colleagues            prehensive Tobacco Control Programs — 2014. Atlanta: U.S. De-
Kelsey Campbell, Asma Shaikh, and Jesse Thompson for their              partment of Health and Human Services, Centers for Disease Control
work with data cleaning, data analysis, summarizing results, and        and Prevention, National Center for Chronic Disease Prevention and
contributing to the preparation of earlier versions of this man-        Health Promotion, Office on Smoking and Health; 2014.
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     Exhibit D
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The Impact of “The Real Cost” on E-cigarette Initiation among U.S.
Youth

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 AJPM Special Issue A4

     TITLE: The Impact of “The Real Cost” on E-cigarette Initiation among U.S. Youth

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 necessarily represent the official position of the Food and Drug Administration.


 ABSTRACT: 250/250 WORDS
 Introduction
 E-cigarette use among U.S. youth has declined in recent years. This study examined the effect of

 exposure to “The Real Cost” Youth E-cigarette Prevention Campaign on e-cigarette initiation

 among U.S. youth aged 11–18.
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                                                                                                      2


 Methods
 Data were analyzed from the first two waves of a longitudinal evaluation of the campaign

 (baseline: August–December 2023; follow-up: June–September 2024; analyses: 2025). The

 analysis included youth who reported never having tried an e-cigarette at baseline and completed

 the follow-up survey (n = 3,408). An exposure index (range: 0–16) was generated using

 respondents’ self-reported frequency of exposure to each of four campaign advertisements (0 =

 never; 4 = very often). The impact of exposure on e-cigarette initiation was examined at follow-

 up using a discrete-time survival analysis logistic regression model, controlling for potential

 confounding variables. The estimated number of youth prevented from initiating e-cigarette use

 was extrapolated to the national youth population.




 Results
 The odds of reporting e-cigarette initiation at follow-up decreased as exposure to campaign

 advertisements increased. For every unit increase in the exposure index, there was a 6%

 reduction in the probability of initiation. The campaign prevented an estimated 444,252 (95% CI:

 73,639–814,866) U.S. youth aged 11–18 from initiating e-cigarettes between 2023 and 2024.




 Conclusions
 Youth with higher exposure to “The Real Cost” E-cigarette Prevention Campaign ads were less

 likely to initiate e-cigarettes during the study period. These findings indicate that the campaign

 has contributed to recent declines in e-cigarette use among U.S. youth.
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                                                                                                     3


 INTRODUCTION
 E-cigarettes are currently the most commonly used tobacco product by U.S. youth, with 1.63

 million youth reporting use of e-cigarettes in 2024.1 E-cigarette use exposes youth to harmful

 chemicals, including nicotine, which is highly addictive and poses dangers to adolescent brain

 development.2 E-cigarette use has declined considerably since its peak in 2019, including a

 significant drop in the number of students who reported current e-cigarette use between 2023 and

 2024—2.13 million youth reported use in 2023, compared to 1.63 million in 2024.3



 Tobacco prevention public education campaigns are a critical component of comprehensive

 tobacco control efforts with decades of research highlighting their success at changing tobacco

 risk perceptions, intentions to use tobacco products in the future, and tobacco product use

 initiation.4-6 For more than a decade, the U.S. Food and Drug Administration (FDA) Center for

 Tobacco Products (CTP) has utilized an evidence-based health communication and campaign

 framework to plan, develop, implement, and evaluate its youth tobacco prevention public

 education campaigns, starting with “The Real Cost” Youth Cigarette Prevention Campaign7

 which first aired in 2014. This health communication and campaign framework encompasses

 foundational research (e.g., conducting tobacco product surveillance, media landscaping, subject

 matter expert consultations, audience analysis),8 formative research (e.g., testing strategic and

 creative concepts with intended teen audiences to assess message comprehension and message

 performance),9,10 and evaluation research (e.g., conducting process, implementation, and

 outcome evaluation).11-13 Additionally, campaign implementation is informed by a data-driven

 media strategy that identifies effective channels and messengers for the intended audience.14
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                                                                                                    4


 To address the rapid increase in e-cigarette use among youth observed between 2013 to 2017,

 FDA expanded its messaging in 2018 to educate youth about the harms of e-cigarette use. FDA

 created and launched “The Real Cost” Youth E-cigarette Prevention Campaign under “The Real

 Cost” umbrella.15 To help maximize impact and best reach youth through the media channels

 they use most frequently, the campaign also moved away from traditional broadcast and cable

 TV in favor of a broader and deeper presence on digital and social media platforms.



 Prior studies have found that “The Real Cost” e-cigarette prevention messages shifted tobacco-

 and cigarette-related beliefs among U.S. youth.13,16-18 However, to date, no study has assessed the

 potential effects of the campaign on youth e-cigarette use behaviors. The current paper addresses

 this gap by presenting findings from the evaluation of “The Real Cost” Youth E-cigarette

 Prevention Campaign and its impact on e-cigarette use initiation among a nationally

 representative longitudinal sample of U.S. youth.




 METHODS
 Sample
 The sample consisted of a nationally representative longitudinal cohort of U.S. youth developed

 to evaluate “The Real Cost” Youth E-cigarette Prevention Campaign. The study used address-

 based sampling to identify households for inclusion in the study. Households were mailed

 invitations for an adult to complete an online screener designed to identify the presence of one or

 more eligible youth between 11 and 17 years of age. Parents of eligible youth were asked to

 provide permission for their child to participate. After obtaining parental permission, eligible

 youth were invited to provide consent/assent and take an online survey. Youth participants
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                                                                                                     5


 received a $25 incentive for completing each survey, with a $5 bonus for completing in the first

 30 days of data collection.



 Baseline data were collected from August 2023 through December 2023, and follow-up data

 were collected from June 2024 through September 2024. All respondents who completed the

 baseline survey were invited to take the follow-up survey. At baseline, 5,347 youth completed

 the survey, with 77% returning to complete the follow-up survey (N = 4,125). The analytic

 sample for this study was restricted to respondents who reported never having used an e-cigarette

 at baseline, completed the follow-up survey, and passed data quality checks (these included

 assessing responses to survey attention checks, survey speeding, and item straightlining) at each

 wave, for a final sample size of 3,408. Oversight for this study was provided by the Advarra

 Institutional Review Board (Protocol number 00065019).




 Measures
 The primary outcome of interest was e-cigarette initiation among youth who had never used an

 e-cigarette at baseline. E-cigarette initiation was defined as a respondent transitioning from never

 having used an e-cigarette that contains nicotine at baseline to having ever used an e-cigarette

 that contains nicotine at follow-up. Ever use of an e-cigarette that contains nicotine was assessed

 with the question, “Have you ever tried vaping nicotine, even one time?” Respondents were

 asked to not consider e-cigarettes containing THC/CBD/Delta-8 when responding to survey

 questions about e-cigarettes.
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 The study examined individual-level variability in recall of the media campaign, a standard

 exposure measure employed in evaluations of mass media for over two decades.12,19-21 The main

 predictor variable was a linear index representing the frequency of exposure for each of four

 “The Real Cost” E-cigarette Prevention Campaign advertisements (ads) that were on air between

 baseline and follow-up. In the follow-up survey, respondents were shown 6- or 15-second clips

 of each video ad and asked, “Apart from this survey, how frequently have you seen this ad in the

 past 3 months?” More details on the ads (“Addiction Isn’t Pretty: Toilet,” “Don’t Pollute

 Yourself,” “Toxic Taxidermy,” and “Scary Enough”) can be found in Appendix Table A-1.

 Response options were 0 = “Never,” 1 = “Rarely,” 2 = “Sometimes,” 3 = “Often,” and 4 = “Very

 often.” Responses were summed across the four ads to generate a numeric linear awareness

 index representing total exposure ranging from 0 (never saw any ads) to 16 (saw all four ads very

 often). The larger values indicating greater frequency of exposure to the advertisements may

 reflect either seeing more ads or seeing any number of the ads more frequently.



 Models controlled for demographic and environmental variables previously shown to be

 associated with e-cigarette use.22-25 The variables identified as potential covariates were then

 selected for inclusion based on a backward elimination approach, with a significance threshold of

 p < 0.10. The variables included in the final mode were age (indicators for each age); living with

 someone who uses tobacco (0 = no, 1 = yes); household income (1 = less than $30,000; 2 =

 $30,000 to less than $70,000; 3 = $70,000 to less than $110,000, 4 = $110,000+); parent

 communication (mean of two items: “Thinking about the adult or adults you live with, how

 satisfied are you with the way you communicate with each other?” [5-point scale ranging from 1

 – “Not at all satisfied” to 5 – “Very satisfied”] and “How close do you feel to the adult or adults
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 you live with?” [5-point scale ranging from 1 – “Not at all close” to 5 – “Very close”]); sensation

 seeking using the Brief Sensation Seeking Scale26; self-reported social media frequency of use,

 based on 7-item response scales that indicate how often respondents reported use of Instagram,

 Snapchat, Facebook, TikTok, and Reddit (for each platform: 0 = never, 6 = several times a day)

 (tertiles of use averaged across social media platforms; mean values were categorized as 0–1.4 =

 Low [1], 1.5–3.4 = Medium [2] and 3.56 = High [3]); and frequency of exposure to e-cigarette

 promotional content on social media (0 = never; 1 = more than a week ago; 2 = sometime in the

 past week; 3 = sometime in the past day).



 Analyses also adjusted for the number of months between a respondent’s participation in the

 baseline and follow-up surveys, as well as an indicator for self-reported awareness to other

 national tobacco prevention campaigns (i.e., Truth Initiative’s truth campaign and the Centers for

 Disease Control and Prevention’s Tips From Former Smokers [Tips] campaign) (0 = Not aware

 of ads from either campaign, 1 = Aware of ads from at least one other campaign).




 Statistical Analysis
 A discrete-time survival analysis was performed to examine the impact of the exposure index on

 e-cigarette initiation at follow-up by using logistic regression models that controlled for the

 above-mentioned demographic and environmental variables. The hazards at each age (i.e., the

 probability of initiating at that age given one has not yet initiated) were calculated using Stata’s

 post-estimation “margins” command.
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 The estimated number of youth prevented from initiating e-cigarette use was calculated using the

 difference between (a) the predicted probability for initiation by age as observed in this sample

 and (b) the predicted probability for initiation by age in a hypothetical scenario where exposure

 to the campaign was zero for all respondents. The difference in these two estimates (b-a) was

 calculated for each age and confidence intervals reflecting the uncertainty in the difference of the

 predicted probabilities of initiation were produced. These estimates (the lower bound, difference,

 and upper bound) were extrapolated to the national youth population for each age using estimates

 from the U.S. Census Bureau’s 2023 American Community Survey27 to estimate the number of

 youth who did not initiate e-cigarette use as a result of exposure to the campaign and a

 confidence interval around each estimate. The estimates were summed across ages to calculate

 the total number of youth who were prevented from initiating as a result of exposure to the

 campaign (see Table A-4 in the appendix for more details on the calculations).



 Sensitivity analyses included discrete-time survival models for three additional exposure

 variations: a square root transformation (to capture diminishing returns), a quadratic

 transformation, and a dichotomous threshold exposure indicator (awareness index score of 0–6

 vs. 7+) to capture the fact that the relationship between exposure and the outcome may not be

 linear. Model fit was assessed for the alternative models using AIC/BIC criterion; results

 indicated the primary model using the linear frequency index was the best fit, though this

 conclusion may be specific to the range of exposures examined. Additionally, a model was run to

 assess potential confounds related to respondents’ prior campaign exposure by adjusting for the

 frequency of exposure index from respondents’ baseline surveys (which captured exposure to ads
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 on air prior to baseline). All analyses (main analysis and sensitivity) were conducted in 2025

 using unweighted data with Stata, version 16.0.




 RESULTS
 This analysis included 3,804 observations. Table 1 presents unweighted descriptive statistics for

 the analytic sample. Among respondents who had never used an e-cigarette at baseline, 232

 (6.8%) reported initiating e-cigarette use at follow-up. The analytic sample was predominantly

 composed of 12- to 17-year-olds at follow-up, with fewer 11-year-olds (2.4%) and 18-year-olds

 (9.5%). 23.1% of the analytic sample reported living with a person who used tobacco at follow-

 up and 36.8% of respondents reported prior exposure to promotional content for e-cigarettes on

 social media.



 [Table 1]



 Figure 1 shows the distribution of the frequency of exposure index on a scale of zero to 16. The

 mean exposure index for the analytic sample was 3.7, and 77.4% of the sample reported at least

 some exposure to one or more of the campaign advertisements (value of 1 or more on the index).

 Individual ad awareness descriptives are in Appendix Table A-2.



 [Figure 1]



 Table 2 provides the adjusted model results for the discrete-time survival analysis on the

 probability of initiation in relation to campaign exposure. Higher awareness of the campaign was
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 significantly associated with a reduction in the odds of initiating e-cigarettes at follow-up

 (adjusted OR = 0.94; 95% CI: 0.90–0.99). The effect was linear; with each unit increase in the

 exposure index, the risk of initiating e-cigarettes decreased by 6%. The negative, significant

 relationship between campaign advertisements exposure and e-cigarette initiation was consistent

 across all sensitivity analyses, indicating the findings are robust to different specifications of

 exposure (Appendix Table A-3).



 [Table 2]



 Models also controlled for time between waves (in months) and awareness of another tobacco

 prevention/cessation campaign (Tips, truth).



 Figure 2 shows the effect of the campaign on e-cigarette initiation by age. The figure shows the

 hazard, or probability, of e-cigarette initiation by age (a) as observed in the study with actual

 exposure levels and (b) in the hypothetical scenario of no exposure to the campaign, with the

 frequency of exposure index equaling zero for all observations. Extrapolating the difference in

 the initiation rates (b-a) for each age to the U.S. population of youth at each age across the range

 of respondents (11 to 18), the campaign was associated with preventing 444,252 (95% CI:

 73,639–814,866) U.S. youth from initiating e-cigarette use during the study period (Appendix

 Table A-4).



 [Figure 2]
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 DISCUSSION
 The current study found that exposure to “The Real Cost” Youth E-cigarette Prevention

 Campaign is associated with lower odds of initiating e-cigarette use at follow-up among a

 nationally representative longitudinal cohort of youth. Specifically, the campaign prevented an

 estimated 444,252 (95% CI: 73,639–814,866) youth 11 to 18 years of age from initiating e-

 cigarette use nationwide between 2023 and 2024.1 These findings are consistent with prior

 evaluations of “The Real Cost” campaigns, which have shown that campaign exposure is related

 to increased tobacco product harm perceptions13,16-18 and decreased tobacco product use among

 U.S. youth.11,12



 Data from the 2024 National Youth Tobacco Survey (NYTS) data indicate that e-cigarette use

 among U.S. middle and high school students declined by nearly 500,000 youth between 2023

 and 2024.28 The current study’s findings suggest that “The Real Cost” Youth E-cigarette

 Campaign was an important contributor to this decline. However, it is important to acknowledge

 that the observed decreases to prevalence of youth e-cigarette use in the U.S. should be

 considered in the context of comprehensive tobacco control strategies implemented during the

 same time period—including those at the national level. For example, legislation signed in

 December 2019 immediately raised the federal minimum age of sale of tobacco products in the

 United States from 18 to 21 years of age,29 leading to promulgation of the FDA final rule that

 went into effect in August 2024 30; FDA review of premarket applications for new tobacco

 products resulted in marketing denial orders of e-cigarettes with youth-appealing designs and

 flavors, including candy and fruit; and FDA enforcement actions such as warning letters, civil

 money penalties, injunctions, and seizures ensure those across the supply chain obey laws that

 prevent youth tobacco product use31 as well as obey laws at the state, local, and tribal levels (e.g.,
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 state e-cigarette taxes; smoke-free indoor air laws prohibiting the use of e-cigarettes in indoor

 areas of private worksites, restaurants, and bars; restrictions on flavored e-cigarettes).32



 The success of “The Real Cost” Youth E-cigarette Prevention Campaign in preventing youth e-

 cigarette use reinforces that public education initiatives, such as mass media campaigns that

 communicate the harms and risks of tobacco product use, are a key component of the

 comprehensive regulatory approach required to prevent and reduce youth tobacco product use.

 An iterative, science-based campaign framework remains critical to sustain the campaign’s

 prevention of youth tobacco use and continually refresh its understanding of teen audiences,

 factors that place them at risk for tobacco initiation and use, and effective message delivery

 channels. FDA’s campaign framework uses evidence-based strategies that will enable “The Real

 Cost” to evolve to address public health needs, including the rise of new and emerging tobacco

 products. The agency’s tobacco campaign framework, rooted in rigorous, science-based, public

 health and communications best practices, will continue to guide development of effective youth

 prevention messaging that is tailored to the intended teen audiences and responsive to the

 dynamic tobacco and media landscapes.



 In addition to demonstrating the success of “The Real Cost” campaign, the findings also

 highlighted factors associated with increased youth e-cigarette initiation—namely, greater levels

 of social media use and tendency toward sensation seeking, lower levels of household income

 and satisfaction with parental communication, and household tobacco use. These findings are

 congruent with prior literature suggesting that sensation seeking,33 along with increased

 normalization of e-cigarette–related content34 and behaviors are associated with greater
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 susceptibility to e-cigarette use, while parental communication25 may serve as a protective factor

 due to increased messaging surrounding risky behavior. Future public health campaigns could

 benefit from exploring how these social and behavioral factors might inform effective e-cigarette

 prevention messages.



 Study limitations include the inability to control for the effects of state- or local-level public

 education campaigns, though the model did control for respondents’ exposure to other national

 tobacco prevention campaigns. In addition, models only examined the effect of campaign

 exposure on e-cigarette initiation. Follow-up analyses assessing the campaign’s potential impact

 on disrupting the progression of experimentation to regular or daily e-cigarette use would

 broaden understanding of the campaign’s impact on youth tobacco prevention. Relatedly, this

 campaign examines initiation over a 1-year period, but longer studies are required to determine

 whether the campaign effectively led to sustained abstinence among this cohort. The exposure

 index measure in this study is based on recall of the ads airing at the highest levels between the

 survey waves and does not capture all potential exposure to the full range of campaign

 advertising materials (e.g., audio spots, social media reels, other custom placements), potentially

 rendering a smaller effect size for campaign exposure in the modeling. Despite use of a

 potentially narrow measure of campaign exposure, this study found robust evidence of campaign

 effect on youth e-cigarette use. As noted above, the exposure index is assessed using self-

 reported data, which is subject to recall bias. However, prior studies have demonstrated that

 findings using self-reported measures of exposure align with findings for exogenous measures of

 exposure not subject to recall bias.11,12 The present study is unable to control for policies or

 regulations at the national, state, or local level enacted during the study period (August 2023 to
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 October 2024). This study examines differences in the probability of youth e-cigarette initiation

 by different exposure levels to the campaign in a longitudinal cohort. Therefore, other national

 policies or regulations should affect youth equally within the study and not impact the study

 findings; however, to the extent that state or local policies might be related to exposure and

 initiation, their omission could bias the findings. The campaign is implemented at a national

 level, therefore the impact to study findings are expected to be minimal and not a threat to the

 study validity. Despite these limitations, the study findings collectively support the causal role of

 the campaign on preventing youth e-cigarette initiation.




 CONCLUSIONS
 This is the first longitudinal study demonstrating the behavioral effects of a national tobacco

 education campaign about e-cigarettes on U.S. youth. This study and other effective tobacco-

 focused campaigns are similar in their conclusions35,36—because media effects on behavior occur

 in cluttered, real-world environments, substantially resourced campaigns with high advertising

 levels over extended periods of time are crucial to achieve sustainable population changes in

 tobacco use behaviors. In demonstrating the effects of public health messages on population-

 level behaviors, evaluation studies such as this one provide strong support for continued

 implementation of science-based public education campaigns to reduce the future harms of

 tobacco use and improve the health of U.S. youth.
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 Figure 1. Distribution of the Self-Reported Frequency Index for Exposure to E-cigarette

 Campaign Advertisements at Follow-Up 1
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 Figure 2. Estimated Youth E-cigarette Initiation Risk: Actual Exposure to “The Real Cost”

 Versus Hypothetical No-Exposure Scenario
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   Table 1. Demographic Characteristics: Analytic Sample of
   “The Real Cost” Youth E-cigarette Prevention Campaign
              Longitudinal Evaluation Measures                     N (%) or Mean (SD)

 E-cigarette initiation between baseline and follow-up

   No                                                                     3,176 (93.2)

   Yes                                                                     232 (6.8)

 Age in yearsa

   11                                                                       82 (2.4)

   12                                                                     424 (12.4)

   13                                                                     518 (15.2)

   14                                                                     548 (16.1)

   15                                                                     517 (15.2)

   16                                                                     533 (15.6)

   17                                                                     462 (13.6)

   18                                                                      324 (9.5)

 Household incomeb

   Less than $30,000                                                       335 (9.9)

   $30,000 to under $70,000                                               689 (20.3)

   $70,000 to under $110,000                                              752 (22.2)

   $110,000 or more                                                       1,612 (47.6)

 Lives with someone who uses tobacco products

   No                                                                     2,612 (76.9)

   Yes                                                                    786 (23.1)

 Parent communication scale                                                4.4 (0.8)

 Sensation-seeking scale                                                   2.9 (0.9)
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                                              #: 713


                                                                                                25


 Aware of another tobacco prevention/cessation campaign (Tips,
 truth)

     No                                                                        1,273 (37.4)

     Yes                                                                       2,135 (62.6)

 Time between waves (months)                                                    9.7 (1.2)

 Tertiles of social media platform use index (1 – Low, 2 –                      1.8 (0.8)
 Medium, 3 – High)

 Self-reported exposure to vaping promotional content on social
 media

     Never                                                                     2,156 (63.3)

     More than a week ago                                                      619 (18.2)

     Sometime in the past week                                                 472 (13.9)

     Sometime in the past day                                                   160 (4.7)
 a
     Due to sample sizes, 11- and 12-year-old respondents were combined into a single group in the

 analysis.
 b
     Analyses were conducted using baseline responses for household income.
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                                                                                                26


 Table 2. Discrete-Time Survival Model: Relationship between Self-Reported Exposure to

 “The Real Cost” and Youth E-cigarette Initiationa

                       Explanatory Variables                                 OR (95% CI)

 Self-reported exposure to “The Real Cost” ads                              0.94* (0.90,0.99)

 Age in years

   11–12                                                                          Ref

   13                                                                       2.68* (1.17,6.14)

   14                                                                       1.92 (0.83,4.43)

   15                                                                    3.14** (1.41,7.01)

   16                                                                    3.58** (1.62,7.92)

   17                                                                   4.00*** (1.80,8.89)

   18                                                                   7.41*** (3.36,16.34)

 Household income

   Less than $30,000                                                              Ref

   $30,000 to under $70,000                                             0.41*** (0.26, 0.65)

   $70,000 to under $110,000                                            0.51** (0.33, 0.79)

   $110,000 or more                                                     0.35*** (0.23, 0.53)

 Lives with someone who uses tobacco products                           2.37*** (1.77,3.18)

 Parent communication scale                                             0.74*** (0.63,0.86)

 Sensation-seeking scale                                                1.36*** (1.15,1.60)

 Tertiles of social media platform use index (1-Low, 2-Medium, 3-       1.70*** (1.39,2.07)
 High)

 Self-reported exposure to vaping promotional content on social media

   Never                                                                          Ref

   More than a week ago                                                     1.19 (0.81,1.73)
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                                                                                                 27


                         Explanatory Variables                                OR (95% CI)
     Sometime in the past week                                               1.55* (1.08,2.24)

     Sometime in the past day                                                1.62 (0.94,2.80)

 CI = Confidence interval; OR = Odds ratio; TRC = The Real Cost
 Note: Boldface indicates statistical significance (*p < 0.05, **p<0.01, ***p<0.001).
 a
     United States, 2023–2024




 CRediT author statement
 Anna MacMonegle: Conceptualization, Methodology, Validation, Writing - Original Draft,
 Supervision, Project administration, Funding acquisition
 Anh Nguyen Zarndt: Conceptualization, Writing - Review & Editing, Supervision
 Yifan Wang: Software, Formal analysis, Writing - Original Draft, Visualization
 Morgane Bennett: Writing - Original Draft, Project administration
 Vincenzo Malo: Software, Validation, Writing - Original Draft, Visualization
 Leeann Siegel: Methodology, Writing - Original Draft
 Lindsay Pitzer: Writing - Review & Editing
 Allie Jaarsma: Validation, Writing - Original Draft, Visualization, Project administration
 James Nonnemaker: Methodology, Validation, Writing - Review & Editing
 Nathaniel Taylor: Resources, Writing - Original Draft, Project administration
 Jennifer Duke: Conceptualization, Writing - Review & Editing, Funding acquisition
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                                    #: 716




      Exhibit E
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                DEPARTMENT OF HEALTH AND HUMAN
                                            #: 717 SERVICES     Notice of Award
                                                                                                     Award# 5 NU58DP006802-05-00
                Centers for Disease Control and Prevention
                                                                                                     FAIN# NU58DP006802
                                                                                                     Federal Award Date: 04/18/2024



Recipient Information                                                         Federal Award Information
1. Recipient Name                               11. Award Number
   HEALTH RESEARCH, INC.                           5 NU58DP006802-05-00
                                                12. Unique Federal Award Identification Number (FAIN)
   150 Broadway STE 280
                                                   NU58DP006802
   Riverview Center                             13. Statutory Authority
   Health Research, Inc.                           301(a) and 317(k)(2) of the Public Health Service Act, [42 U.S.C. Section 241(a) and 247b(k)(2)], as
   Menands, NY 12204-2732                          amended.
   [NO DATA]                                    14. Federal Award Project Title
2. Congressional District of Recipient             New York State Tobacco Control Program
   20
3. Payment System Identifier (ID)
   1141402155A1                                 15. Assistance Listing Number
4. Employer Identification Number (EIN)            93.387
   141402155
                                                16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)          National and State Tobacco Control Program
   153695809
6. Recipient’s Unique Entity Identifier (UEI)   17. Award Action Type
   WJ37AD42G8A5                                    Non-Competing Continuation
7. Project Director or Principal Investigator   18. Is the Award R&D?
                                                   No
   Dr. Barbara Wallace
   barbara.wallace@health.ny.gov                             Summary Federal Award Financial Information
   518-474-0512
                                                19. Budget Period Start Date           04/29/2024 - End Date 04/28/2025

                                                20. Total Amount of Federal Funds Obligated by this Action                                    $2,905,769.00
8. Authorized Official
                                                    20a. Direct Cost Amount                                                                   $2,579,293.00
   Ms. Cheryl A. Mattox                             20b. Indirect Cost Amount                                                                   $326,476.00
   Executive Director, Health Research, Inc.
                                                21. Authorized Carryover                                                                                  $0.00
   hringa@healthresearch.org
   518-431-1200                                 22. Offset                                                                                                $0.00
                                                23. Total Amount of Federal Funds Obligated this budget period                                            $0.00
Federal Agency Information
                                                24. Total Approved Cost Sharing or Matching, where applicable                                   $325,000.00
 CDC Office of Financial Resources
                                                25. Total Federal and Non-Federal Approved this Budget Period                                 $3,230,769.00
9. Awarding Agency Contact Information          26. Period of Performance Start Date 06/29/2020 - End Date 04/28/2025
 Mrs. Nadirah Watson
                                                27. Total Amount of the Federal Award including Approved
 Grants Management Specialist
                                                    Cost Sharing or Matching this Period of Performance                                      $14,694,550.00
 nwatson@cdc.gov
 404-498-3029
                                                28. Authorized Treatment of Program Income
10.Program Official Contact Information             ADDITIONAL COSTS
 Asha Banks
                                                29. Grants Management Officer – Signature
 Public Health Advisor
                                                     Darryl Mitchell
 vfq3@cdc.gov
 770-488-1211



30. Remarks




                                                                                                                                              Page 1
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              DEPARTMENT OF HEALTH AND HUMAN
                                          #: 718 SERVICES     Notice of Award
              Centers for Disease Control and Prevention                                            Award# 5 NU58DP006802-05-00
                                                                                                    FAIN# NU58DP006802
                                                                                                    Federal Award Date: 04/18/2024



Recipient Information                                     33. Approved Budget
                                                          (Excludes Direct Assistance)
Recipient Name                                             I. Financial Assistance from the Federal Awarding Agency Only
 HEALTH RESEARCH, INC.                                     II. Total project costs including grant funds and all other financial participation
 150 Broadway STE 280                                     a. Salaries and Wages                                                    $1,348,926.00
 Riverview Center
                                                          b. Fringe Benefits                                                         $538,221.00
 Health Research, Inc.
 Menands, NY 12204-2732                                         c. Total Personnel Costs                                           $1,887,147.00
 [NO DATA]                                                d. Equipment                                                                     $0.00
Congressional District of Recipient
 20                                                       e. Supplies                                                                $300,360.00
Payment Account Number and Type                           f. Travel                                                                   $12,810.00
 1141402155A1
Employer Identification Number (EIN) Data                 g. Construction                                                                  $0.00
 141402155                                                h. Other                                                                    $22,150.00
Universal Numbering System (DUNS)
                                                          i. Contractual                                                             $356,826.00
 153695809
Recipient’s Unique Entity Identifier (UEI)                 j. TOTAL DIRECT COSTS                                                   $2,579,293.00
 WJ37AD42G8A5
                                                          k. INDIRECT COSTS                                                         $326,476.00

 31. Assistance Type                                       l. TOTAL APPROVED BUDGET                                                $2,905,769.00
 Cooperative Agreement
                                                          m. Federal Share                                                         $2,905,769.00
 32. Type of Award
 Other                                                    n. Non-Federal Share                                                      $325,000.00


 34. Accounting Classification Codes

 FY-ACCOUNT NO.          DOCUMENT NO.     ADMINISTRATIVE CODE   OBJECT CLASS   CFDA NO.    AMT ACTION FINANCIAL ASSISTANCE        APPROPRIATION
     3-9390L46           20NU58DP006802           DP                41.51       93.387                                    $0.00      75-X-0948
    4-939ZREN            20NU58DP006802           DP                41.51       93.387                            $2,905,769.00      75-24-0948




                                                                                                                                       Page 2
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                  DEPARTMENT OF HEALTH AND HUMAN
                                            #: 719 SERVICES Notice of Award
                                                                                             Award# 5 NU58DP006802-05-00
                  Centers for Disease Control and Prevention
                                                                                             FAIN# NU58DP006802
                                                                                             Federal Award Date: 04/18/2024




Direct Assistance
               BUDGET CATEGORIES           PREVIOUS AMOUNT (A)           AMOUNT THIS ACTION (B)                TOTAL (A + B)
Personnel                                                        $0.00                            $0.00                         $0.00
Fringe Benefits                                                  $0.00                            $0.00                         $0.00
Travel                                                           $0.00                            $0.00                         $0.00
Equipment                                                        $0.00                            $0.00                         $0.00
Supplies                                                         $0.00                            $0.00                         $0.00
Contractual                                                      $0.00                            $0.00                         $0.00
Construction                                                     $0.00                            $0.00                         $0.00
Other                                                            $0.00                            $0.00                         $0.00
Total                                                            $0.00                            $0.00                         $0.00




                                                                                                                               Page 3
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                             AWARD ATTACHMENTS
HEALTH RESEARCH, INC.                                              5 NU58DP006802-05-00
1. Terms and Conditions
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  NY- NU58DP006802-T&C
   AWARD INFORMATION

  Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms
  and Conditions for Non-research awards at https://www.cdc.gov/grants/federal-regulations-
  policies/index.html, the Centers for Disease Control and Prevention (CDC) hereby incorporates
  Notice of Funding Opportunity (NOFO) number DP20-2001, entitled National and State Tobacco
  Control Program, and application dated January 31, 2024, as may be amended, which are
  hereby made a part of this Non-research award, hereinafter referred to as the Notice of Award
  (NOA).

  Total Approved Funding is included in Summary Federal Award Financial Information on
  page 1 of the NOA. All future year funding will be based on satisfactory programmatic progress
  and the availability of funds.

  The federal award amount is subject to adjustment based on total allowable costs incurred
  and/or the value of any third-party in-kind contribution when applicable.

  Note: Refer to the Payment Information section for Payment Management System (PMS)
  subaccount information.

  Approved Component Funding: The NOFO provides for the funding of multiple components
  under this award. For this NOA, the approved funding level for each component is shown below:

   NOFO Component                    Amount
   Component I                       $2,036,862
   Component II                      $868,907


  Financial Assistance Mechanism: Cooperative Agreement


  Technical Review: Within 5 days of this Notice of Award’s (NOA) issue date, the Technical
  Review will be accessible to the recipient in GrantSolutions Grant Notes. Contact the assigned
  Program Officer indicated in the NOA with any questions regarding this document or any follow
  up requirements and timelines set forth therein.


  Substantial Involvement by CDC: This is a cooperative agreement and CDC will have
  substantial programmatic involvement after the award is made. Substantial involvement is in
  addition to all post-award monitoring, technical assistance, and performance reviews
  undertaken in the normal course of stewardship of federal funds.

  CDC program staff will assist, coordinate, or participate in carrying out effort under the award,
  and recipients agree to the responsibilities as detailed in the NOFO and included below.

     •   Providing technical assistance to revise annual work plans.
     •   Assisting in advancing program activities to achieve project outcomes.
     •   Providing scientific subject matter expertise and resources.
     •   Collaborating with recipients to develop evaluation plans that align with CDC evaluation
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         activities.
     •   Providing technical assistance on recipient's evaluation and performance measurement
         plan.
     •   Providing ongoing training, technical assistance, and consultation on policy, systems,
         and environmental strategies and activities for tobacco control, including tobacco use
         and dependence treatment strategies and activities.
     •   Providing up-to-date information that includes dissemination of best practices for
         tobacco prevention and control.
     •   Informing and educating recipients and other partners about evidence-based policy,
         systems, and environmental strategies and activities for tobacco control through
         workshops, conferences, training, electronic and verbal communication, including the
         National Conference on Tobacco or Health.
     •   Identifying, developing, and disseminating education media campaign materials for use
         by programs; facilitating coordination of education media ads between programs;
         providing technical assistance on design, implementation, and evaluation of media.
     •   Providing monthly National Tobacco Control Program, Media Network, and periodic
         Evaluation Technical Assistance webinars to provide updates from subject matter
         experts about relevant tobacco-related topics and issues.
     •   Maintaining electronic mechanisms for information sharing, program planning, and
         progress reporting.
     •   Developing and maintaining partnerships with federal and non-federal organizations to
         assist in tobacco control and maintain a national infrastructure that complements the
         state infrastructure.
     •   Serving as a resource to recipients in identifying and eliminating tobacco-related
         disparities among population groups.
     •   Maintaining a website with access to a data warehouse containing comparable
         measures of tobacco use and dependence prevention and control from different data
         sources.
     •   Helping identify gaps in the evidence-base of tobacco control and prioritizing efforts to fill
         those gaps; providing training and technical assistance on publications and opportunities
         for dissemination of program evaluation findings.
     •   Serving as a convener and resource for the continued expansion of the evidence-base
         of tobacco control.
     •   Providing technical assistance, as requested, for developing impact statements and
         publishing selected statements on the CDC/OSH website as appropriate.
     •   Providing technical assistance, as requested, on the submission of data to the National
         Quitline Data Warehouse (NQDW).
     •   Facilitating development of the evidence base especially in areas of innovative
         strategies in reaching populations disproportionately impacted by tobacco use and
         dependence and associated disease, disability, and death through tobacco use and
         dependence treatment initiatives.
     •   Collecting and analyzing data that can be used to monitor and evaluate tobacco use and
         dependence treatment initiatives.
     •   Disseminating the Weekly Dose newsletter containing pertinent information regarding
         tobacco-related topics and NOFO-related information.
     •   Providing access to CDC's Office on Smoking and Health Media Campaign Resource
         Center.
     •   Collaborating with the Food and Drug Administration to provide information related to
         regulatory action.
     •   Providing data visualization training and technical assistance.
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     •   Providing a Tobacco Control Network, Communities of Practice, and tailored webinars
         that include lessons learned from peers, and opportunities for tailored technical
         assistance and sustainability planning.
     •   Providing 12-month on-boarding support for new tobacco control program managers.
     •   Providing leadership development through the OSH Leadership and Sustainability
         School for program managers.

  Expanded Authority: The recipient is permitted the following expanded authority in the
  administration of the award.

   ☒ Carryover of unobligated balances from one budget period to a subsequent budget period.
     Unobligated funds may be used for purposes within the scope of the project as originally
     approved. Recipients will report use, or intended use, of carried over unobligated funds in
     Section 12 “Remarks” of the annual Federal Financial Report. If the GMO determines that
     some or all of the unobligated funds are not necessary to complete the project, the GMO
     may restrict the recipient’s authority to automatically carry over unobligated balances in the
     future, use the balance to reduce or offset CDC funding for a subsequent budget period, or
     use a combination of these actions.

   FUNDING RESTRICTIONS AND LIMITATIONS

  Indirect Costs:
  Indirect costs are approved based on the negotiated indirect cost rate agreement dated August
  14, 2023, which calculates indirect costs as follows, a Provisional is approved at a rate of 17.3%
  of the base, which includes, direct salaries and wages including all fringe benefits in Albany (b).
  The effective dates of this indirect cost rate are from 04/01/2023 - 03/31/2026.

  Missing Contractual Elements - The TBD contractor cost noted in the budget narrative are
  not approved and the recipient may not begin the contract until the six elements in accordance
  with the CDC Budget Preparation Guidance, are provided via GrantSolutions as a Notice of
  Contractor Amendment and GMO approval is provided via Notice of Award.
      ⁻ BTC facilitation contractor (Comp 1 contractor# 4 - $30,000)

   PAYMENT INFORMATION

  Payment Management System Subaccount: Funds awarded in support of approved activities
  have been obligated in a subaccount in the PMS, herein identified as the “P Account”. Funds
  must be used in support of approved activities in the NOFO and the approved application.

  The grant document number identified beginning on the bottom of Page 2 of the Notice of Award
  must be known in order to draw down funds.

   CLOSEOUT REQUIREMENTS

  Standard closeout reporting requirements are identified in the General Terms and Conditions,
  which are published on the CDC website at https://www.cdc.gov/grants/federal-regulations-
  policies/index.html.

  Final Performance Progress and Evaluation Report: This report should include the
  information specified in the NOFO and is submitted 120 days following the end of the period of
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  performance via www.grantsolutions.gov . At a minimum, the report will include the following:
         • Statement of progress made toward the achievement of originally stated aims.
         • Description of results (positive or negative) considered significant.
         • List of publications resulting from the project, with plans, if any, for further
            publication.

  Additional guidance may be provided by the GMS and found at:
  https://www.cdc.gov/grants/already-have-grant/index.html.
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      Exhibit F
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